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                             1   Michael Jones, California Bar # 271574
                                 M. Jones & Associates, PC
                             2
                                 505 N Tustin Ave, Ste 105
                             3   Santa Ana, California 92705
                                 Telephone: (714) 795-2346
                             4   Facsimile: (888) 341-5213
                             5
                                 Attorneys for Plaintiff Babak Mojtahedzadeh
                             6

                             7

                             8
                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             9                              SANTA ANA DIVISION
                            10

                            11
                                 In The Matter of:                                  In Chapter 7 Proceedings
                            12
                                 THOMAS PATRICK GIORDANO,                      Case No. 8:12-bk-22973-TA
                            13

                            14                             Debtor
                                                                               Adv. No.
                            15

                            16
                                                                                          COMPLAINT
                            17   BABAK MOJTAHEDZADEH,
                            18                             Plaintiff,
                            19
                                                                               COMPLAINT SEEKING DAMAGES
                                 v.                                               IN A CORE ADVERSARY
                            20                                                   PROCEEDING FOR ACTUAL
                                 THOMAS PATRICK GIORDANO,                      FRAUD, DAMAGES FOR BREACH
                            21                                                        OF FIDUCIARY,
                            22
                                                           Defendant.
                                                                                              AND
                            23
                                                                                      OBJECTING TO
                            24
                                                                                DISCHARGEABILITY OF DEBT
                            25
                                                                                  UNDER 11 USC 523(a)(2)(A)
                                                                                  AND/OR 11 USC 523(a)(2)(4)
                            26

                            27

                            28




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                             1
                                                                     INTRODUCTION
                             2

                             3
                                   1.    This action brought pursuant to 11 USC 523(a)(3) by an unnoticed creditor that
                             4
                                 seeks redress for the unlawful and fraudulent practices committed by Mr. Thomas Patrick
                             5
                                 Giordano (hereinafter “Defendant”, “Debtor”, or “Mr. Giordano”) in connection with legal
                             6

                             7   representation in a bankruptcy matter. Defendant held himself out as a capable bankruptcy

                             8   attorney that was both willing and able to handle a Chapter 11 case within the bankruptcy
                             9
                                 court system in California. Defendant’s conduct involves falsely representing that he would
                            10
                                 be able to competently represent Mr. Babak Mojtahedzadeh (hereinafter “Plaintiff” or “Mr.
                            11
                                 Mojtahedzadeh”) in his bankruptcy case. Thereafter, Defendant induced Plaintiff to pay him
                            12

                            13   no less than $37,329.00 to initiate bankruptcy proceedings. After receiving Plaintiff’s

                            14   $37,329.00, Plaintiff discovered that Defendant had taken Plaintiff’s money being held in his
                            15
                                 trust account, and then abandoned the Plaintiff’s bankruptcy case. Plaintiff seeks monetary
                            16
                                 and declaratory relief for actual fraud, breach of fiduciary, and defalcation in a fiduciary
                            17

                            18
                                 capacity to recover his $37,329.00, as well as additional money damages directly traceable to

                            19   the malfeasance of the Defendant.
                            20
                                   2.    Although Defendant was indebted to Plaintiff for several thousand dollars, Plaintiff
                            21
                                 was not listed as a creditor in the main case, had no knowledge of the bankruptcy filing until
                            22

                            23   recently, and was not included on the mailing matrix for the main case.

                            24
                                   3.    The original bar date in the main case to file a complaint to determine
                            25
                                 dischargeability was 19 February 2013. Plaintiff had absolutely no knowledge of the main
                            26

                            27
                                 case until long after the bar date had past, and was not notified of the bar date in the main

                            28   case by Defendant, the court, or any other party. It was only through the comment of



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                             1   Plaintiff’s counsel, who happened to the present at Giordano’s 341 Meeting of the Creditors,
                             2
                                 that Plaintiff became aware that the main case had been filed.
                             3

                             4      4.      Because of this lack of knowledge of the main case, the bar date in the main case

                             5   does not apply to Plaintiff. Further, due to both an actual lack of knowledge of the
                             6
                                 bankruptcy proceeding and the lack of notice to Plaintiff in the case, under 11 U.S.C.
                             7
                                 523(a)(3), Plaintiff’s debt would be exempted from Defendant’s discharge, if a discharge was
                             8
                                 granted.
                             9

                            10      5.      This action is also filed by Plaintiff to obtain declaratory relief granting an order of
                            11
                                 nondischargeability under 11 U.S.C 523(a)(2)(A) and/or 11 U.S.C. 523 (a)(2)(4). The basis
                            12
                                 for this determination is that Defendant has made material misrepresentations that were
                            13

                            14
                                 relied upon to the detriment of Plaintiff, specifically, that he was a competent bankruptcy

                            15   attorney who would competently assist Plaintiff in his Chapter 11 case as his attorney, and
                            16
                                 that he unlawfully took Plaintiff’s funds from his trust account and converted them to his
                            17
                                 own use.
                            18

                            19      6.      Additionally, this action seeks to obtain an order of nondischargeability under 11

                            20   U.S.C. 523(a)(4). The basis for this determination is that Defendant agreed to act as
                            21
                                 Plaintiff’s attorney of record in his bankruptcy case, and that created a fiduciary duty to
                            22
                                 Plaintiff. Defendant then breached this fiduciary duty to Plaintiff by committing fraud against
                            23

                            24
                                 Plaintiff in connection with the subject bankruptcy case, and by converting Plaintiff’s money

                            25   to his own use. Such conduct meets the statutory parameters for fraud or defalcation while
                            26   acting in a fiduciary capacity, embezzlement, or larceny under 11 U.S.C. 523(a)(4), and
                            27
                                 entitles Plaintiff to an order of nondischargeability on his claims against Defendant.
                            28

                                    7.      Plaintiff also seeks an award of money damages for actual fraud, fraud in a fiduciary

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                             1         capacity, and breach of fiduciary duties. The amount sought is no less than $2,000,000.00,
                             2
                                       representing the amount of money given to the Defendant, plus additional costs, expenses,
                             3
                                       and losses of businesses and real estate directly traceable to the misconduct of the Defendant.
                             4

                             5                                             JURISDICTION
                             6   8.             On November 9, 2012, Defendant Thomas Giordano filed a voluntary Chapter 7

                             7         bankruptcy petition in the United States Bankruptcy Court for the Central District of
                             8
                                       California.
                             9

                            10
                                 9.             Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of

                            11         Title 28 of the United Stated Code in that this proceeding arises in and is related to the
                            12
                                       above-captioned Chapter 7 case under Title 11 and concerns dischargeability of the Debtor in
                            13
                                       that case.
                            14

                            15   10.            This Court has both personal and subject matter jurisdiction to hear this case

                            16         pursuant to Section 1334 of Title 28 of the United States Code, Section 157(b)(2) of Title 28
                            17
                                       of the United States Code, and pursuant to the General Order of the United States District
                            18
                                       Court for the Central District of California (the Referral Order), which Order was entered in
                            19

                            20
                                       accordance with the Bankruptcy Amendments and Federal Judgeship Act of 1984.

                            21
                                 11.            This Court has supplemental jurisdiction to hear all state law claims pursuant to
                            22
                                       Section 1367 of Title 28 of the United States Code.
                            23

                            24   12.            This matter is primarily a core proceeding and therefore the Bankruptcy Court has

                            25         jurisdiction to enter a final order. However, in the event this case is determined to be a non-
                            26
                                       core proceeding then and in that event the Plaintiff consents to the entry of a final order by
                            27
                                       the Bankruptcy Judge.
                            28




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                             1   13.           Venue lies in this District pursuant to Section 1391(b) of Title 28 of the United
                             2
                                       States Code.
                             3

                             4
                                                                              PARTIES
                             5

                             6   14.           Plaintiff is a citizen and resident of Orange County, California.

                             7
                                 15.           The Defendant is a named Debtor in the associated main bankruptcy case.
                             8
                                       Defendant is an individual person, who maintains his principal residence in Orange County,
                             9

                            10
                                       California.

                            11
                                                                                FACTS
                            12

                            13
                                 16.           The 341(a) meeting of creditors was initially held in Santa Ana, California, on

                            14         January 23, 2013, and has been continued thereafter. As of the date of the preparation of this
                            15         pleading, to the best of Plaintiff’s knowledge and belief, the 341 meeting has not been
                            16
                                       concluded.
                            17

                            18   17.           In the schedules filed by the Defendant with the petition in this case, the Plaintiff

                            19         was not listed as a creditor or otherwise referenced in the Defendant’s petition or
                            20
                                       schedules. As such, Plaintiff is an unnoticed creditor of the Defendant.
                            21

                            22
                                 18.           On or about 2009, Plaintiff hired Mr. Giordano to represent him in a Chapter 11

                            23         bankruptcy case. The goal of the case was to reduce the principle indebtedness on certain
                            24
                                       real property. A secondary goal was to discharge unsecured debt.
                            25
                                 19.           Plaintiff learned about Defendant when in early or mid 2009, Plaintiff was
                            26

                            27         introduced to Mr. Ali Khodnegah who claimed to be an associated of Mr. Giordano. Acting

                            28         as an agent of Mr. Giordano, Khodnegah advised Plaintiff to file for Bankruptcy to save



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                             1         Plaintiff’s home using Mr. Giordano’s expertise. Khodnegah claimed that Defendant is an
                             2
                                       extremely capable attorney and that he had many years of experience in bankruptcy.
                             3

                             4   20.            Based on representations made by Mr. Giordano, or agents of Mr. Giordano, that he

                             5         was a competent Chapter 11 bankruptcy attorney, and in complete reliance of the
                             6
                                       representations made, Plaintiff hired Mr. Giordano to represent him in seeking relief as a
                             7
                                       debtor through the voluntary filing of a Chapter 11 petition.
                             8

                             9   21.            As part of the representation agreement, Plaintiff initially paid to Mr. Giordano

                            10         $25,000.00 with the direct and actual representation and understanding that this money
                            11
                                       would be held in his trust account on Plaintiff’s behalf. The legal fees incurred in the
                            12
                                       Chapter 11 case would be billed against this amount held in trust, and disbursed only upon
                            13

                            14
                                       approval of fee applications filed with the Bankruptcy Court. Costs would also be deducted

                            15         from this amount held in Defendant’s trust account. A true and correct copy of the payments
                            16
                                       are attached hereto as Exhibit A.
                            17
                                 22.            Additional amounts were thereafter paid to Mr. Giordano at his prompting and in
                            18

                            19         reliance on his representations stated herein. It was in complete reliance on Mr. Giordano’s

                            20         representations stated herein that the Plaintiff decided to retain Defendant to represent him in
                            21
                                       his Chapter 11 case, ultimately paying him a total sum of $37,329.00 to be held in
                            22
                                       Defendant’s trust account for Plaintiff’s benefit.
                            23

                            24   23.            As the case progressed, Plaintiff provided all the required paperwork to Defendant.
                            25
                                       Plaintiff thereafter noticed that there were discrepancies between what Plaintiff had provided
                            26
                                       to Defendant, what Defendant was presenting in the case. Plaintiff attempted to contact
                            27
                                       Defendant on numerous occasions to address these issues. His phone calls went unanswered.
                            28

                                       On one occasion Plaintiff physically went to Defendant’s office to discuss the discrepancies,

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                             1         and found the documents he had submitted in the trashcan.
                             2
                                 24.            Plaintiff requested his case to be dismissed due to Defendant’s many failures and
                             3

                             4         abandonment of the case. However, his case was instead converted to Chapter 7.              As a

                             5         consequence of the failure of the Chapter 11 case, Plaintiff has lost real estate property and
                             6
                                       an ongoing business enterprise. As a result, the direct losses suffered by Plaintiff are at least
                             7
                                       $2,000,000.
                             8

                             9   25.            Plaintiff’s Chapter 11 case ultimately was completely abandoned by Mr. Giordano,

                            10         and on information and belief, no substantive work was done on the case by him, other than
                            11
                                       perhaps the initial preparation of the schedules and filing of the case.
                            12

                            13   26.            Plaintiff has now become aware on information and belief that Mr. Giordano had

                            14         misappropriated the $37,329.00 belonging to Plaintiff from Defendant’s trust account. When
                            15
                                       Defendant took this money out of his trust account, it was without court order and without
                            16
                                       Plaintiff’s permission.
                            17

                            18   27.            Plaintiff could not afford to hire another counsel to take over his case or to pursue
                            19         the recovery of the funds.
                            20
                                 28.            Plaintiff provided Mr. Giordano with $37,329.00 to hold in trust as required by the
                            21

                            22         bankruptcy code and the local rules. The funds were only to be used by Mr. Giordano when

                            23         the fees and costs were approved by the court. The court never approved any fee application
                            24
                                       of Mr. Giordano in Plaintiff’s Chapter 11 case, and in fact, no fee application was ever even
                            25
                                       filed in the case by him.
                            26

                            27   29.            As alleged herein, Plaintiff paid $37,329.00 for Defendant to competently represent
                            28         Plaintiff in his Chapter 11 case, and take his case through successful completion. Defendant



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                             1         thereafter abandoned the Plaintiff’s case after filing the initial documents, and was not, in
                             2
                                       fact, a competent Chapter 11 bankruptcy attorney. Further, Defendant failed to provide any
                             3
                                       type of competent representation to the Plaintiff.
                             4

                             5   30.            Defendant has also converted the $37,329.00 that was held in trust for Plaintiff’s
                             6
                                       benefit, while acting in a fiduciary role as Plaintiff’s attorney, by taking those funds from his
                             7
                                       trust account without Plaintiff’s approval or court authorization.
                             8

                             9   31.            By order of the State Bar Court of California, filed November 9, 2011, Defendant

                            10         has been disbarred and is no longer eligible to practice law in the State of California.
                            11

                            12

                            13
                                                         FIRST CAUSE OF ACTION -- ACTUAL FRAUD
                            14

                            15

                            16
                                 32.            Plaintiff incorporates paragraphs 1 through 31 as though fully set forth herein by
                            17
                                       reference.
                            18

                            19   33.            As alleged herein, Plaintiff paid $37,329.00 for administration of his Chapter 11
                            20
                                       case based on representations made by Defendant, including, but not limited to,
                            21
                                       representations that he was a competent Chapter 11 attorney and that the money paid would
                            22

                            23
                                       be held in his trust account and only paid out upon the approval of the court.

                            24
                                 34.            When Defendant made these representations, he intended for Plaintiff to rely on
                            25
                                       them.
                            26

                            27   35.            Plaintiff did, in fact, rely on those representations when Plaintiff paid Defendant

                            28         $37,329.00 for administration of his Chapter 11 case by Defendant, acting as his attorney.



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                             1   36.            However, those representations were false and Plaintiff relied on them to his
                             2
                                       detriment. Plaintiff never would have hired Mr. Giordano and paid him the $37,329.00 if he
                             3
                                       had known the true facts, which were discovered only after payment had been made to Mr.
                             4

                             5
                                       Giordano.

                             6
                                 37.            As alleged herein, the true facts were that Defendant was not a capable Chapter 11
                             7
                                       bankruptcy attorney, and that he would not hold the money in his trust account, but instead
                             8
                                       would transfer or deposit the funds into his general account.
                             9

                            10   38.            Plaintiff has suffered costs, expenses, and losses directly attributed to the fraud and
                            11
                                       malfeasance of Defendant in an amount not less than $2,000,000.00, representing the loss of
                            12
                                       the real estate holdings and ongoing business enterprise that was involuntarily liquidated and
                            13

                            14
                                       lost by Plaintiff.

                            15
                                 39.            As a result of the forgoing intentional misrepresentations alleged herein, Plaintiff
                            16
                                       has suffered special and compensatory damages in a sum according to proof, but in no case
                            17
                                       less than $2,000,000.00.
                            18

                            19   40.            In doing the acts herein alleged, Defendant acted with oppression, fraud, malice, and
                            20
                                       in conscious disregard of the rights of Plaintiff, and Plaintiff is therefore entitled to punitive
                            21
                                       damages in an amount according to proof.
                            22

                            23
                                                    SECOND CAUSE OF ACTION -- DEFALCATION WHILE
                            24
                                                          ACTING IN A FIDUCIARY CAPACITY
                            25
                                 41.            Plaintiff re-alleges paragraphs 1 through 40 as though fully set forth herein.
                            26

                            27   42.            As alleged herein, Defendant converted funds received from Plaintiff to use for his
                            28
                                       personal use or purposes other than handling the legal needs of Plaintiff. Defendant was not


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                             1         authorized by Plaintiff, or anyone acting on behalf of Plaintiff, to take said funds for any
                             2
                                       purpose other than placing the funds in a trust fund for administration of Plaintiff’s Chapter
                             3
                                       11 case. Defendant converted said funds for his own personal benefit, and to the damage and
                             4

                             5
                                       detriment of Plaintiff. Plaintiff has demanded return of said funds, but they were not

                             6         returned.
                             7
                                 43.            The conversion of the funds and actions of Defendant constitute defalcation while
                             8
                                       acting in a fiduciary capacity, including his position as Plaintiff’s attorney.
                             9

                            10   44.            As a result of the forgoing conversion of funds, Plaintiff has suffered special and
                            11
                                       compensatory damages in a sum according to proof.
                            12

                            13   45.            In doing the acts herein alleged, Defendant acted with oppression, fraud, malice, and

                            14         in conscious disregard of the rights of Plaintiff, and Plaintiff is therefore entitled to punitive
                            15
                                       damages in an amount according to proof.
                            16

                            17

                            18

                            19
                                                    THIRD CAUSE OF ACTION —BREACH OF FIDUCIARY
                                                                       DUTY
                            20

                            21
                                 46.            Plaintiff incorporates paragraphs 1 through 45 as though fully set forth herein by

                            22         reference.
                            23
                                 47.            The facts alleged herein show that Defendant Giordano served as a fiduciary to
                            24
                                       Plaintiff in connection with his Chapter 11 case.
                            25

                            26   48.            Defendant owed Plaintiff a fiduciary duty in connection with the subject bankruptcy
                            27
                                       because of his role as Plaintiff’s attorney, and his role in handling the Plaintiff’s money
                            28
                                       regarding the Chapter 11 case.


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                             1   49.            As alleged herein Defendant breached his fiduciary duty to Plaintiff by committing
                             2
                                       fraud against Plaintiff in connection with his representation in Plaintiff’s Chapter 11 case and
                             3
                                       converting Plaintiff’s money to his own use.
                             4

                             5   50.            As a result of the forgoing breach of fiduciary duty by Defendant, Plaintiff has
                             6
                                       suffered past and future special damages in an amount according to proof.
                             7
                                 51.            In doing the acts herein alleged, Defendant Giordano acted with oppression, fraud,
                             8

                             9         malice, and in conscious disregard of the rights of Plaintiff, and Plaintiff is therefore entitled

                            10         to punitive damages in an amount according to proof.
                            11

                            12                         FOURTH CAUSE OF ACTION – DETERMINATION OF
                            13
                                                       NONDISCHARGEABILITY DUE TO ACTUAL FRAUD

                            14

                            15   52.            Plaintiff incorporates paragraphs 1 through 51 as though fully set forth herein by
                            16
                                       reference.
                            17

                            18
                                 53.            Debts incurred by fraud are nondischargeable under 11 U.S.C. 523(a)(2)(A).

                            19
                                 54.            The fraudulent actions of Defendant in this case form the basis of Defendant’s debt
                            20
                                       to Plaintiff.
                            21

                            22   55.            Defendant is attempting to discharge his debts in the pending bankruptcy case,

                            23         although he has not listed Plaintiff, as required, in Schedule F as an unsecured creditor.
                            24
                                 56.            Plaintiff is entitled to an Order that Defendant’s indebtedness to Plaintiff in the
                            25

                            26
                                       amount according to proof, but in no case less than $2,000,000.00, is non-dischargeable

                            27         under 11 U.S.C. 523(a)(2)(A).
                            28




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                             1                        FIFTH CAUSE OF ACTION – DETERMINATION OF
                                                    NONDISCHARGEABILITY ARISING FROM FIDUCIARY
                             2
                                                                    RELATIONSHIP
                             3

                             4
                                 57.           The allegations of paragraphs 1-56 above are realleged and incorporated herein by
                             5

                             6         reference.

                             7
                                 58.           Debts incurred by fraud or defalcation while acting in a fiduciary capacity,
                             8
                                       embezzlement, or larceny are nondischargeable under 11 U.S.C. 523(a)(4).
                             9

                            10   59.           The conversion of the money entrusted to Defendant by Plaintiff resulting in a
                            11
                                       benefit for Defendant to the detriment of Plaintiff constitutes defalcation while acting in a
                            12
                                       fiduciary capacity.
                            13

                            14   60.           The conversion of the money entrusted to Defendant by Plaintiff resulting in a

                            15         benefit for Defendant to the detriment of Plaintiff constitutes embezzlement while acting in a
                            16
                                       fiduciary capacity.
                            17

                            18   61.           The fraudulent actions of Defendant in this case occurred in a fiduciary capacity and

                            19         form the basis of Defendant’s debt to Plaintiff.
                            20
                                 62.           Defendant is attempting to discharge his debts in the pending bankruptcy case, in
                            21
                                       which Plaintiff would be an unnoticed unsecured creditor.
                            22

                            23   63.           Plaintiff is entitled to an Order that Defendant’s indebtedness to Plaintiff on his
                            24
                                       claims in an amount according to proof, but in no case less than $2,000,000.00, is non-
                            25
                                       dischargeable under 11 U.S.C. 523(a)(4).
                            26

                            27            WHEREFORE, the Plaintiff having set forth his claims for relief against the
                            28
                                 Defendant respectfully prays of the Court as follows:


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                             1             A. That Plaintiff have and recover against the Defendant a sum not less than
                             2
                                               $2,000,000.00, or such greater amount to be determined by the Court, in the
                             3
                                               form of actual damages for Fraud;
                             4

                             5             B. That Plaintiff have and recover against the Defendant a sum not less than
                             6
                                               $2,000,000.00, or such greater amount to be determined by the Court, in the
                             7
                                               form of actual damages for Breach of Fiduciary;
                             8

                             9             C. That Plaintiff have and recover against the Defendant a sum to be determined

                            10                 by the Court in the form of punitive damages;
                            11
                                           D. That Plaintiff have and recover against the Defendant all reasonable legal fees
                            12

                            13                 and expenses incurred by his attorney;

                            14
                                           E. That any award in favor of Plaintiff and against the Defendant be determined
                            15
                                               to be nondischargeable under the appropriate provisions of 11 U.S.C. 523;
                            16

                            17             F. That the Plaintiff have such other and further relief as the Court may deem just
                            18
                                               and proper.
                            19

                            20
                                 Dated this 25 February 2015.
                            21

                            22
                                                                               M Jones & Associates, PC
                            23                                                 Attorneys for (Plaintiff/Defendant)

                            24

                            25
                                                                               Michael Jones
                            26

                            27

                            28




 M.Jones & Associates
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  Santa Ana, CA 92705
     714-795-2346                                                    13
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